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                                         THE LAW OFFICES OF



                     JOSEP H A. BONDY

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                                                          January 20, 2020

(By Fax: (202) 307-6777 and fail)
William P. Barr
Attorney General
United States Department of Justice
950 Pennsylvania Ave NW
Washington, DC 20530

        Re:      Request for Recusal, Lev Parnas

Dear Attorney General Barr,

         We are counsel to Lev Parnas regarding the Federal Election Act charges for which he is under
indictment in the Southern District of New York and the investigation of his alleged involvement in the
subject matter of the Presidential impeachment. As explained below, due to the conflict of interest of your
being involved in these matters as Attorney General, and in an effort to preserve the public trust in the
rule of law, we request that you recuse yourself and allow the appointment of a special prosecutor from
outside the Department of Justice to handle this case.

        The public record is replete with requests for your recusal, the reasons for that request, and public
outcry that you have not. Federal ethics guidelines bar federal employees from participating in matters in
which their impartiality could be questioned, including matters in which they were personally involved or
about w hich they have personal knowledge. 5 C.F.R. § 2635.502; Justice Manual§ 1-4.020.

        TheJuly 25, 2019 transcript of President Trump's call with Ukrainian President Volodymyr
Zelensky contains multiple references to you, alone and in conjunction with the President's attorney,
Rudolf Giuliani, as being the point person for the Zelensky administration to work with in commencing
an investigation into the President's chief political rival,Joe Biden. (Exhibit A).

         In the August 12, 2019, whistleblower complaint, you were personally named as a participant in
the President's abuse of the power of his office to solicit interference with the government of Ukraine in
connection with the 2020 election, including pressuring Ukraine to investigate one of the President's
political opponents,Joe Biden. (Exhibit B).



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         On October 23, 20 19, the New York City Bar Association called upon you to recuse yourself from
all Department of Justice matters relating to the allegations that the President abused the power of his
office to solicit political interference on his behalf by the government of Ukraine. (Exhibit C) .

         On October 24, 2019, the United States SenateJudiciary Committee Democrats urged you to
 recuse yourself from investigation into Trump-Ukrainian matters involving Lev Parnas, his current co­
 defendant Igor Fruman, and the President's personal attorney, Rudy Giuliani. (Exhibit D).

          OnJanuary 9, 2020, The New York City Bar Association, having received no reply to its earlier
call for recusal, asked Congress to investigate you for acting as a "political partisan ...willing to use the
levers of government to empower certain groups ov_er others." (Exhibit E).

        In recent days, evidence has been brought to light linking you further to your long-time colleagues
Victoria Toensing and Joseph diGenova, as well as Mr. Guiliani, which undoubtedly creates at least the
public appearance of a conflict of interest.

        In addition to harmful perceptions, this conflict of interest appears to have caused actual harm to
Mr. Parnas who, given delays in the production of discovery in his federal case, was rendered unable to
comply with a duly-issued congressional subpoena in time for congressional investigators to make
complete use of his materials or properly assess Mr. Parnas as a potential witness. Furthermore,
prosecutors have, thus far, refused to meet with Mr. Parnas and to receive his information regarding the
President, Mssrs. Giuliani, Toensing, diGenova and others-all of which would potentially benefit Mr.
Parnas if he were ever to be convicted and sentenced in his criminal case.

         The criteria informing whether an Attorney General should recuse him or herself from a matter
and allow the appointment of a special prosecutor is whether a prosecution or investigation of a "matter "
or of a person may raise a conflict of interest for the Department of Justice, or whether there exists,
"other extraordinary circumstances," and when, in light of these conflicts or circumstances, the Attorney
General finds it is in the "public interest " to appoint such counsel. 28 C.F.R.§§ 600.1-2 (1999).1 If the
Attorney General is recused from a matter, then the Acting Attorney General will appoint a special
prosecutor when deemed warranted. Here, the issues involved concern the apparent conflict of interest in
your being tasked with investigating the President, certain members of his administration, and your long­
term colleagues and friends, and the appearance of such conduct as undermining the public's interest in
due administration and trust in the rule of law.

         The 1999 recusal regulations promulgated by Attorney General Reno also provide that, if
appointed, an outside special counsel "shall be a lawyer with reputation for integrity and impartial
decision-making, and with appropriate experience to ensure both that the investigation will be conducted
ably, expeditiously and thoroughly and that investigative and prosecutorial decisions will be supported by


1 SeeJustice Manual at§ 3-1.140, United States Attorney Recusals ("When United States Attorneys, or
their offices, become aware of an issue that could require a recusal in a criminal or civil matter or case as
a result of an actual or apparent conflict of interest, they must contact EOUSA's General Counsel's Office
(GCO) ...They must be recused by the designated Associate Deputy Attorney General. The requirement
of recusal does not arise in every instance, but only where a conflict of interest exists or there is an
appearance of a loss of impartiality A United States Attorney who becomes aware of circumstances that
might necessitate his or her recusal or that of the entire office should promptly notify GCO to discuss
whether a recusal is required. If recusal is appropriate, GCO will coordinate the recusal action, obtain
necessary approvals for the recusal, and arrange for a transfer of responsibility to another office.").

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an informed understanding of the criminal law and Department of Justice policies." (28 C.F.R. §§
600.1-10; 64 Fed. Reg. 37,038-44 Guly 9, 1999)). In Mr. Parnas's case, it is in the public interest to remove
this matter entirely from the Department of Justice, both to ensure that the matter is handled properly and
that the public had confidence in the way in which it was handled.

        Given the totality of the circumstances, we believe it is appropriate for you to recuse yourself from
the ongoing investigation and pending prosecution of Mr. Parnas, and to allow the then-Acting Attorney
General to appoint a special prosecutor from outside the Department of Justice, so as to avoid the
appearance of a conflict of interest and to preserve the public trust in the rule of law.

        Thank you for your consideration of this request.




                                                                  Joseph A Bondy
                                                                  Stephanie R. Schuman
                                                                   Counsel to Lev Parnas



c:     Hon. J. Paul Oetken
       AUSAs Nicolas Roos, Douglas Zolkind
       and Rebekah Donaleski
       All Defense Counsel




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                 Exhibit A
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'·
                                                                                [PkgNumberShort]
                                                  A s1· IE
                                                                       Declassified by order of the President·
                                                                       September 24, 2019




     MEMORANDUM OF TELEPHONE CONVERSATION

     SUBJECT:          -t�•Telephone Conversation with Presi�ent
                        Zelenskyy of Ukraine

     PARTICIPANTS:      President Zelenskyy of _Ukraine
                                                                            '
                        Notetakers:          The White House Situation ·Room

     DATE, TIME         July 25, 2019, 9:03 - 9:33 a.m. EDT
     AND PLACE:         Residence


 -t�'!"•,• The President: Congratulations on a great victory. We all
  watched from the United States and you did a terrific.job. The
  way.you came from behind, somebody who wasn't given much of a
  chance, and you ended up winning easily. It's a fantastic
  achievement. Congratulations.

 •t�;-President Zelenskyy: You are absolutely right Mr.
  President.. We did win big and we worked hard for .this. We worked
 a lot but I would like to confess to you that I had qn
 opportunity to iearn from you. We used quite a few of your
 skills and knowledge and were able to use .it as an example for
 our elections .and.yes it is-true that these were unique
 elections. We were in a·unique situation that we· were able to
 CAUTION: A Memorandutn of a·Telephone Conversation (TELCON) is not a verbatim transcript of a
 discussion. The text in this document records the notes and recollections of Situation Room Duty
 Officers and-NSC policy staff assigned t_o listen.and memorialize the conversation in written form
 as the conversation takes place. A number of factors can affect 'the accuracy of the record,
 including poor telecommuni·cations connections and variations in a·ccent and/or interpretation.
 The word "inaudible" is used to indi.�ate portions of a conversation that the notetaker was unable
 to hear.


 Classified By: 2354726
 Derived From: NSC SCG
 Declassify On: 20441231
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  achieve a unique success. I'm able to.tell you the following;
  -the first time,, you called me to · congratulate me .when I won my
  presidential election, and the second time you are now calling
  me when my party won the parliamentary   . election. I think I
  should run more often so you can call me more often and we can
  talk over the phone more often.

  -t-B'fffli'rThe President: [laughter] That's a very good idea. I
   think your countxy is very happy about that.

 -r��resident Zelenskyy: Well yes, to tell you the truth, we
  are trying to work hard because we wanted to drain the swamp
  here in our country. We brought in many many new people. Not the
  old politicians, not the typical politicians, because we want to
  have a new format and a new type of government .. You are a great
  teacher for us and in that.

  ·(a;'uP, The President: Well it I s very nice of you to say that. I
  will say that we do a lot for Ukraine. We spend a lot of effort
  and a lot· of time. Much more than the European coun.tries are
  doing and they should be helping you more than.they are. Germany
  does almost nothing for you. All they do is talk and I think_
  it's something that you should really ask them about. When I was­
  speaking to Angela Merkel she talks Ukraine, but she 'doesn't do
  anything.. A lot of the European countries are the. same way· so I
  thi_nk it I s · something you want to look at but the United States
  has been very-very good to Ukraine. I wouldn't say that it's
  reciprocal necessarily b�cavse things �re happening that are not
  good but the United States has been very very ·.good to Ukra�ne.

      t�,'tffl7•President Zelenskyy: Yes you are ·absolutely right. Not
   . only 100%, but actually 1000% and I can tell you the following;
     I did t'alk .to Angela Merkel and I did meet with her. I also met
     and talked with Macron and I told the� that they are not doing
     qu�te as much a� they need to be doing·on the issues with the
     sanctions. They �re not enforcing the sanctions. They are not
     working as much as _they should work for Ukraine: It turns out
     that even though logical'ly, the �uropean Union should be our
     biggest· partner but technically the United States is a much
     bigger partner than . the European Union and I'm very grateful to
    you for that because the United States is doing quite a· lot for
     UkraiI'fe. Much more than the E"�ropean Union espec:i.ally when we
    are talking �bout sanctions against th� Russi�n Federation. I
 · would also· li�e to thank you ·for. your great support iri the area
. of defense. We are ready to continue to c6operate for the next
    steps specifically we are almost.ready to buy more Javelins from
 : the United States for defense purposes.
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                                             3-
                                                            CLAS I 1 I!E.
   •"",'Mi,•The· President: I would like you to do us a favor though
    because our country has been through a lot and Ukraine knows a
    lot about it. I would like you to find out what happened, with
    this. whole situation with Ukraine, they say Crowdstrike... I guess
    you have one of your wealthy people... The server, they say
    Ukraine has .it: There-are a lot of things that went .on, the
   .whole situation .. I think you' re _surrounding yourse-lf with some
   of the same people. I .would like to have the Attorney General
   call you or your people and I ·would like you to get to the
   bottom of it:.. As you saw yesterday, that whole nonsense ended
   with a very poor performance by a man named Robert Mueller, an
   incompetent performance, but they say a lot of it started with
   Ukraine. Whateve� you can do, it's very important that.you.do it
   if that's possible.

   •�e,'MP,• President Zelenskyy: Yes it is very important for me and
     everything that you just mentioned earlier. For me as a
     President, it is very important and we are open for any future
     cooperation. We are ready to· open a new page on c,ooperation in
     relations between the United Stat.es and Ukraine." For that ·
     purpose, I just recalled our.ambassador from United States and
     he will be replaced by a very compete�t and very experienced
    ambassc:tdor who will work hard ori making sure that our two
    nations are getting closer. I would also like and hope to see
·· him having your trust and your confidence and.have personal
    relations with you so we can cooperate even more so. I will
    personally tell you that c:me · of my assistants· spoke with Mr.
    Giuliani just.recently and we are hoping very much that Mr.
    G1uliani will be able to travel to Ukraine and.we will meet once
   ·he comes to Ukraine .. I just wanted to a_ ssure you once again_ that
    you _have nobody but fr�ends around us. I w_ill make· sure that I
    surround myself with the best and most experienced people .. I
    also· wanted to tell you that we are friends. We are great
    friends and you Mr. President have. friends -in our country so we
    can continue our strategic partnership. I also plan to surround
    myself with great people and in addition to that investigation,
    I guarantee as the President of Ukraine that all the
   i�vestigati?ns will be done openly and candidly .. That I can
   assure you.

   t':3;'MP)- The President: Good because r·heard you had a prosecutor
  who' was very·good and he was shut down and that's really unfair.
 _A lot of people are talking about that, the way they shut your
  very good prosecutor down and you had some very bad people
  involved. Mr. Giuliani is a highly respected man. He was the
  m�yor of �ew York Ci�y, a great mayor, and I would like him to

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      call you. I will ask him to call you along with the Attorney·
      General. Rudy very much knows what's happening and he is a very
      capable guy. If you could speak to him that would be great. The
      former ambassador from the United States,· the woman, was bad
      news and the people she was dealing with in the Ukraine were bad
      news so I just want· to let you know that. The other thing,
      There's a lot of-talk about Biden's son, that Biden stopped the
      prosecution and a lot of people want to find out about that so
      whateyer you can do with the Attorney General would be great.
      Eiden went arqund bragging that he stopped the prosecution so if
      you ·can look into it... It sounds horrible to me.

       t-s,'Nri,.. President Zelenskyy: I wanted to tell ·you about the
       prosecutor. First of all I understand arid I'm kn6wledgeable
      _about the situation. Since we have _won the absolute majority in
       our Parliament; the next �rosecutor .general will be 100% my
       person, my candidate, who will be approved by the parliament and
       will start a_s a new pr·osecutor in September. He or she will look
       into the situation, specifically to the company that you
     -mentioned in this issue. The issue of the investigation: of the
      case is actually the issue of making sure to restore the honesty
       so we wi.11 take care of that and will.work on the investigation
      of the case. On top of that, I would kindly ask you if you have
      any additional information that you can. provi?e 'to µs, it would.
      be very helpful·for the investigation to make sure that we
      administer justice in our country with regard: to the Ambassadqr
      to the United States from Ukraine as far as I recall her name
      was Ivanovich. It was great that you were the first one. \:'ho told
      me that she was a bad ambassador because I agree· with you 100%.
      Her attitude to.wards me was far from the best as she admired the
      previous President and she was on his· side. She would not accept
     me as a new President· well enough.

     "ffl?'ttfii,
            The President: Well, ·she's going to go through some
     things. I will.have Mr. Giuliani give you a call and I _am. also
     going to have Attorney General Barr call and we will get to· the
     bottom of it. I'm sure you will figure it out. I heard the
     prosecutor was treated very badly and he was a very fa�r
     prosecuto.r so good luck with everything. Your economy is going ·
     to get better and bett�r I predict. You have a lot of assets.·
     It's a great country. I have many Ukrainian friends, their
     incredibie people.

     ·t-B,'!ff'lt�President Zelenskyy: I would like to tell you that I also
     have . quite a few ·Ukrainian frie_nds that live iri the United
     States. Actually last time I traveled to the United States, I
     stayed in New York near Central Park and I stayed at the Trump_
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 Tower. I will talk to them and I hope to see t.hem again in the
 future. I also wanted to.thank you for your invitation to visit
 the United States, specifically_Washington DC. On .the other
 hand, I also want to ensure you that we will. be very serious
 about the case and will work on the investigation. As to.the
 economy, there is much potential for our two countries and one
 of· the issues. that is very important for Ukraine is energy
 independence. I believe we can be very successful and
 cooperating on energy independence with United States. We .are
 already working on cooperation. We are.buying American oil but I
 am very hopeful for a future meeting. We will have more time and
 more opportunities to discuss these opportunities and get to
 know each other better. I would like to thank you very much for
 your support

 fB,'UfJj• The .President: Good. Well., thank you very much and I
 appreciate that. I will tell Rudy and Attorney General Barr to .·
 call. Thank you. Whenever you would like tq come to the White
 House,. feel ·free to call. Give us a date and we'll work that.
 out. 1·1ook forward to seeing you.

 ,+�,-   President ·zelens�yy: Thank you very much. I would be very
happy to come and would be happy to meet with you pers·onally and
get to know. you better. :i;: am looking forward to our meeting arid
I .a lso would like .. to- invite you to visit Ukraine and come to the
city bf Kyiv which is a beautiful city.· We have. a beautiful
country Whic'h would welcome you. On the other hand, I believe
that on September_l we will be in Poland and we can meet in
Poland hopefully. After that,· it might be a very good idea for
you to travel to Ukraine. We can eith�r take my plane and go to
Ukraine or we can take your plane, which is probably mucli, better
than mine.

t�fffl••The President: Okay,    ·we can work that out. I look forwar·d
to seeing you in Washington      and maybe in Poland because I think
we are going to be there at      that time.

i�,- l?•resident Zelensk         Thank you very much Mr. President.

-t-Bftff-1--rhe President:· Congratulations on a fantastic job you've
done-. The whole world was watching. I'm not sure it was so much
of a n upset but congratulations.

•t'fl,;1HF� President Zelenskyy: Thank you Mr. President bye-bye.


                           End of Conversation
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                 Exhibit B
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                                           lJNCLASSTF!ED


                                          August 12, 2019



 The Honorable Richard Burr
 Chairman
 Select Committee on Intelligence
 United States Senate

 The Honorable Adam Schiff
 Chairman
 Permanent Select Committee on Intelligence
 United States House of Representatives


 Dear Chairman Burr and Chairman Schiff:

    I am reporting an "urgent concern" in accordance with the procedures outlined in 50 U.S.C.
 §3033(k)(5)(A). This letter is UNCLASSIFIED when separated from the attachment.

    In the course of my official duties, I have received information from multiple U.S.
Government officials that the President of the United States is using the power of his office to
solicit interference from a foreign country in the 2020 U.S. election. This interference includes,
among other things, pressuring a foreign country to investigate one of the President's main
domestic political rivals. The President's personal lawyer, Mr. Rudolph Giuliani, is a central
figure in this effort. Attorney General Barr appears to be involved as well.

    •   Over the past four months, more than half a dozen U.S. officials have informed me of
        various facts related to this effort. The information provided herein was relayed to me in
        the course of official interagency business. It is routine for U.S. officials with
        responsibility for a particular regional or functional portfolio to share such information
        with one another in order to infonn policymaking and analysis.
    •   I was not a direct witness to most of the events described. However, I found my
        colleagues' accounts of these events to be credible because, in almost all cases, multiple
        officials recounted fact patterns that were consistent with one another. In addition, a
        variety of information consistent with these private accounts has been reported publicly.

    I am deeply concerned that the actions described below constitute "a serious or flagrant
problem, abuse, or violation of law or Executive Order" that "does not include differences of
opinions concerning public policy matters," consistent with the definition of an "urgent concern"
in 50 U.S.C. §3033(k)(5)(G). I am therefore fulfilling my duty to report this informatioi1,
through proper legal channels, to the relevant authorities.

   •    I am also concerned that these actions pose risks to U.S. national secmity and undermine
        the U.S. Government's efforts to deter and counter foreign interference in U.S. elections.


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      To the best ofmy knowledge, the entirety of this statement is unclassified when separated
  from the classified enclosure. I have endeavored to apply the classification standards outlined in
  Executive Order (EO) 13526 and to separate out information that I know or have reason to
  believe is classified for national security purposes. 1

        •   If a classification marking is applied retroactively, I believe it is incumbent upon the
            classifying authority to explain why such a marking was applied, and to which specific
            infonnation it pertains.

  I.        The 25 July Presidential phone call

     Early in the morning of 25 July, the President spoke by telephone with Ulaainian President
  Volodymyr Zelenskyy. I do not know which side initiated the call. This was the first publicly
  acknowledged call between the two leaders since a brief congratulatory call after Mr. Zelenskyy
  won the presidency on 2 I April.

      Multiple White House officials with direct knowledge of the call informed me that, after an
 initial exchange ofpleasantries, the President used the remainder of the call to advance his
 personal interests. Namely, he sought to pressure the Ukrainian leader to take actions to help the
 President's 2020 reelection bid. According to the White House officials who had direct
 lrnowledge of the call, the President pressured Mr. Zelenskyy to, inter alia:

       •  initiate or continue an investigation2 into the activities of former Vice President Joseph
          Biden and his son, Hunter Biden;
       • assist in purportedly uncovering that allegations of Russian interference in the 2016 U.S.
         presidential election originated in Ukraine, with a specific request that the Ukrainian
         leader locate and turn overs rvers used by the Democratic National Committee (DNC)
         an<l examined by the U.S. cyber security firm Crow<lstrike,3 which initially reported that
         Russian hackers had penetrated the DNC's networks in 2016; and
       • meet or speak with two people the President named explicitly as his personal envoys on
         these matters, Mr. Giuliani and Attorney General Barr, to whom the President referred
         multiple times in tandem.



  1 Apart fi-om the information in the Enclosure, it is my belief that none of the information contained herein meets the
 definition of"classified information" outlined in EO 13526, Prut 1, Section 1.1. There is ample open-source
 information about the efforts I describe below, including statements by the President and Mr. Giuliani. In addition,
 based on my personal observations, there is discretion with respect to the classification of private comments by or
 instructions from the President, including his communications with foreign leaders; information that is not related to
 U.S. foreign policy or national security-such as the information contained in this document, when separated from
 the Enclosure-is generally treated as unclassified. I also believe that applying a classification marking to this
 information would violate EO 13526, J'arl I, Section 1.7, which states: "In no case shall information be classified,
 continue to be maintained as classified, or fail to be declassified in order to: (I) conceal violations of law,
inefficiency, or administrative error; [or] (2) prevent embarrassment to a person, organization, or agency."
1 lt is unchiar whether such a Ukrainian investigation exists. See Footnote #7 for additional infonnation.
1 I do not know why the President associates these servers with Ukraine. (See, for example, his comments to Fox
News on 20 July: "And Ukraine. Take a look at Ukraine. How come the FBI didn't take this server? Podesta told
them to get out. He said, get Ollt. So, how come the FBI didn't take the server from the DNC?")

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                                                  UNCLASSIFIED


 The President also praised Ukraine's Proseclltor General, Mr. Yuriy Lutsenko, and suggested
 that Mr. Zelenskyy might wnnl lo keep him in his position. (Note: Starting in March 20 L9, Mr.
 Lutsenk_o made a series of public allegations-many of which he later walked back-about the
 Biden family's activities in Ukraine, Ukrainian officials' purported involvement in the 2016 U.S.
 election, and the activities of the U.S. Embassy in Kyiv. Sec Part IV for additional context.)

     The White House officials who told me this infotmation were deeply disturbed by what had
 transpired in the phone call. They told me that there was already a "discussion ongoing" with
 White House lawyers about how to treat the call because of the likelihood, in the officials'
 retelling, that they had witnessed the President abuse his office for personal gain.

     The Ukrainian side was the first to publicly acknowledge the phone call. On the evening of
 25 July, a readout was posted on the website of the Ukrainian President that contained the
 following line (translation from original Russian-language readout):

          •    "Donald Trump expressed his conviction that the new Ukrainian government wHI be able
               to quickly improve Ukraine's image and complete the invesrigation of corruption cases
               thnt have held back cooperation between Ukraine and the UnLtcd tates."

 Aside from the above-mentioned ''cases" purpottedly dealing with the Biden family and the 2016
 U.S. election,! was told by White House officials that no other "cases" were discussed.

     Based on my understanding, there were approximately a dozen White House officials who
listened to the call-a mixture of policy officials and duty officers in the White House Situation
Room, as is customary. The officials I spoke with told me that participation in the call had not
been restricted in advance because everyone expected it would be a "routine" call with a foreign
leader. I do not know whether anyone was physically present with the President during the call.

      • In addition to White House personnel, I was told that a State Department official, Mr. T.
        Ulrich Brechbuhl, also listened in on the call.
      • I was not the only nc>n-White House official to receive a readout of the call. Based on my
        understanding, multiple State Department and Intelligence Community officials were also
        briefed on the contents of the call as outlined above.

II.           Efforts to restrict access to records related to the call

    In the clays following the phone call, I learned from multiple U.S. officials that senior White
House officials had intervened to "lock down" aJl records of the phone call, especially the
official word-for-word transcript of the call that was prodi.1ced-as is customary-by the White
House Situation Room. This set of actions underscored to me that White House officials
understood the gravity of what had transpired in the call.

      •       White House officials told me that they were "directed" by White House lawyers to
              remove the electronic transcript from the computer system in which such transcripts are
              typically stored for coordination, finalization, and distribution to Cabinet-level officials.


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          •    Instead, the transcript was loaded into a separate electronic system that is otherwise used
               to store and handle classified information of an especially sensitive nature. One White
               House official described this act as an abuse of this electronic system because the call did
               not contain anything remotely sensitive from a national security perspective.

 I do not know whether similar measures were taken to restrict access to other records of the call,
 such as contemporaneous handwritten notes taken by those who listened in.

 III.         Ongoing concerns

     On 26 July, a day after the call, U.S. Special Representative for Ukraine Negotiations Kurt
 Volker visited Kyiv and met with President Zelenskyy and a variety of Ukrainian political
 figures. Ambassador Volker was accompanied in his meetings by U.S. Ambassador to the
 European Union Gordon Sondland. Based on multiple readouts of these meetings recounted to
 me by various U.S. officials, Ambassadors Volker and Sonclland reportedly provided advice to
 the Ukrainian leadership about how to "navigate" the demands that the President had made of
 Mr. Zelenskyy.

     I also learned from multiple U.S. officials that, on or about 2 August, Mr, Giuliani reportedly
 traveled to Madrid to meet with one of President Zelenskyy's advisers, Andriy Ye1mak. The
 U.S. officials characterized this meeting, which was not reported publicly at the time, as a "direct
 follow-up" to the President's call with Mr. Zelcnskyy about the "cases" they had discussed.

      •       Separately, multiple U.S. officials told me that .t-vfr. Giuliani had reportedly privately
              reached out to a variety of other Zelenskyy advist:rs, including Chief of Staff Andriy
              Bohdan and Acting Chairman of the Security Service of Ukraine Ivan Bakanov.4
      •       [ do not know whether those officials met or spoke with Mr. Giuliani, but I was told
              separately-by multiple U.S. officials that Mr. Yermak and Mr. Bakanov intended to travel
              to Washington in mid-August.

    On 9 August, the President told reporters: "I think [President Zelenskyy] is going to make a
deal with President Putin, and he will be invited to the White House. And we look forward to
seeing him. He's already been invited to the White House, and he wants to come. And I think
he will. He's a very reasonable guy. He wants to see peace in Ukraine, and I think he will be
coming very soon, actually."

IV.           Circumstances leading up to the 25 July Presidential phone call

   Beginning in late March 2019, a series of articles appeared in an on line publication called
The Hill. fn these articles, several Ukrainian offlcials--most notably, Prosecutor General Yuriy
Lutsenko--made a series of allegations against other Ukrainian officials and current and former
U.S. officials. Mr. Lutsenko and his colleagues alleged, inter alia:


1 In a report published by the Organized Crime and Com1ption Reporting Project (OCCRP) on 22 July, two
associates of Mr. Giuliani reportedly traveled to Kyiv in May 201 Q and met with Mr. Bakanov and another close
Zelenskyy adviser, Mr. Scrhiy Shetir.

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      •    that they possessed evidence that Ukrainian offic ials-namely, Head of the National
          Anticorruption Bureau of Ukraine Artem S ytnyk and Member of Parl iament Serbi y
          Leshchen.ko-had "interfered" in the 20 1 6 U .S. presidential elect ion , allegedly in
          collaboration with the DNC and the U.S. Embassy in K y iv;5"
      •   thut lhe U . S . Embassy in K y i v-specifica l l y, U.S . Ambassador Nfo rie Yovanovitch , who
          had criticized Mr. Lutsenko ' s organization for its poor record on fi ghting corrup tion­
          had allegedly obstn1cted Ukrainian law enforcement agenc ies' p ursuit of corrup tion
          cases, including by providing a "do not prosecute" list , and had b locked Ukrainian
          p rosecutors from traveling to the United States ex p ressly to p revent them from delivering
          their "evidence" about the 20 1 6 U.S . elcction ; 6 and
      •   that former Vice President Biden had pressured former Ukrainian President Petro
          Poroshenko in 20 I 6 to fire then Ukrainian Pro ccutor General Viktor Shakin in order to
          quash a p urp orted criminal pro be into Burisma Ho ldings, a Ukrainian energy comp an y on
          whose board the former Vice President's son, Hunter, sat. 7

 In several p ublic comments, 8 Mr. Lutscnko also stated that he wished to communicate directly
 with Attorne y General Barr on these rnatters .9

      The allegations by Mr. Lutsenko came on lhe eve of the first rounu o f Ukraine ' s presidential
 election on 3 1 M arch. By that time , Mr. Lutsenko ' s po l i tical p atron , President Poro henko , was
 trailing Mr. Zelenskyy in the polls and a pp eared likel y to be defeated. Mr. Zelenskyy had made
 known his desire to re p lace fvir. Lutsenko as Prosecutor General . On 2 1 Ap ril, Mr. Poroshenko
 lost the rnnoff to Mr. Zelenskyy by a landslide, See Enclosure for additional information.



5
    Mr. Sy tnyk and Mr. Leshchenko are two of Mr. Lntsenko's mnin do1J1cstic rivals. Mr. Lutscnko hos no legal
  training and has been widely criticized in Ukraine for pol iticizing crim inal probes m.1 d using his tenure as Prosecutor
 Geneml to p rotect corrupt Ukrainian officiuls. He has publicl y feuded wirh Mr. Sytnyk, who heads Ukraine's only
 competent anticorruption body , and wi1h Mr. C.cshohenko , u fonner invesligativc jouma.Jist who hns repeatedly
 criticized Mr. Lutsenko's record. In December 20 1 8 , a Ukrainian comr upheld a com1>laint by n /vfombcr of
 Parliament, wl.r. Boryslnv Rozenblat , who alleged that Mr. Sytnyk nnd Mr. Leshchenko hnd "interfered" in the 20 l 6
  U.S. election by publicizing a document detailing corrupt payments made by former Ukrairtian President Viktor
 Yanukovych before his ouster in 20 1 4. Mr. Rozcnblnt hnd ori ginally filed the motion in late 2017 after attempting
 to flee Ukrninc amid nn investigation into his taking of n large bribe. On 16 July 20 1 9, lvfr, Leshdu:nko publicly
 st.tted that a U krainian court had ovcr1urncd the lower court's decision.
 6 IV[r. Lursenko later told Ukrninimi news outlet J11e Babel on 1 7 April that Ambassador Yovanovitch had never
 provided such a list, and that he was, in fuct, the one who requested such 0 lisr.
 7 Mr. Lutsenko Inter told Bloomberg on 16 May that former Vice President Biden and his son were not subj ect to
 any current Ukrainlun investi gations, and that he had no cvidcocc against them. Other senior Ukrainian officials
also contested his original allegations ; one former senior Ukrainian prosecutor told Bloomberg on 7 May that Mr.
 Shakin in fact was not investigatin g Burisma at the time of his removal in 20 1 6.
8 See, for example , Mr. Lutseulco's comments to The Hill on 1 and 7 April and his interview with The Babel on 1 7
April, in which h e smted that he had spoken with Mr. Giuliani about arranging contact with Attorney General Barr.
' ln Mny, Attorney General Dnrr onnounced that he was ( nitiating a probe into the "origins" of the Russin
investigation. According to the 11bove-refcrenccd OCCRP report (22 July) , two associates of Mr. Giuliani claimed
to be working with Ukrainian officials to uncover information thC!t would become part of this inq uiry. Tn an
interview with Fox News on 8 A11gl1st, Mr. Giuliani claimed that Mr. Joh11 Durh m , whom Attorney General Burr
designated to lead this probe , wus "spending a lot of time in Euro p e" because he wns "invcstigntin g Ukrninc.'' I do
not know the eA'tclll to which, if at all , Mr. Giulinnl is directl y coord inating his efforts 011 Ukraine with Attorney
General Barr or l'vir, Durham.

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         •   It was also publicly reported that Mr. Giuliani had met on at least two occasions with Mr.
             Lutsenko: once in New York in late January and again in Warsaw in mid-February. In
             addition, it was publicly reported that Mr. Gtuliani had spoken in late 2018 to former
             Prosecutor General Shokin, in a Skype call arranged by two associates of Nir. Giuliani. 10
         •   On 25 April in an interview with Fox News, the President calle·cl Mr. Lutscnko's claims
             "big'' and "incredible" and stated that the Attorney General "would want to see this."

     On or about 29 April, I learned from U.S. officials with direct knowledge of the situation that
 Ambassador Yovanovitch had been suddenly recalled to ·washington by senior State Department
 officials for "consultations" and would most likely be removed from her position.

      • Around the same time, I also learned from a U.S. official that "associates" of Mr.
        Giuliani were trying to make contact with the incoming Zelenskyy team. 11
      • On 6 May, the State Department announced that Ambassador Yovanovitch would be
        ending her assignment in Kyiv "as planned."
      • However, several U.S. officials told me that, in fact, her tour was curtailed because of
        pressure stemming from tvlr. Lutsenko's allegations. Mr. Giuliani subsequently stated in
        an interview with a Ukrainian journalist published on 14 May that Ambassador
        Yovanovitch was "removed ... because she was pa1t of the efforts against the President."

      On 9 May, The New York Times reported that Mr. Giuliani planned to travel to Ukraine to
 p!'ess the Ukrainian government to pursue investigations that would help the President in his
 2020 reelection bid.

     •       In his multitude of public statements leading up to and in the wake of the publication of
             this article, Mr. Giuliani confirmed that he was focused on encouraging Ukrainian
             authorities to pursLte investigations into alleged Ukrainian interference in the 2016 U.S.
             election and alleged wrongdoing by the Biden family.12
     •       On the afternoon of 10 May, the President stated in an interview with Politico that he
             planned to speak with Mr. Giuliani about the trip.
     •       A few hours later, Mr. Giuliani publicly canceled his trip, claiming that Mr. Zelenskyy
             was "surrounded by enemies of the [U.S.] President. ..and of the United States."

   On 11 May, Mr. Lutsenko met for two hours with President-elect Zelenskyy, according to a
public account given several days later by Mr. Lutsenko. Mr. Lutsenko publicly stated that he
had told Mr. Zelenskyy that he wished to remain as Prosecutor General.


 10 See, for example, the above-reforenced articles in Bloomberg (16 May) and OCCRP (22 July).
 11 I do not know whether these associates of Mr. Giuliani were tl1e same individua.ls named in the 22 July repo1t by
 OCCRP, referenced above.
 12 See, for example, tvlr. Giuliani's aripcarance on Fox News on � April and his tweets on '23 April and 10 May. ln
his interview with The New York 1'imes, Mr. Uiuli�ni smred Urnt the President "bnsicully knows what I'm doing,
sure, as his lawyer." Mr. Giuliani also stated: ''We're not meddling in an election we're meddling in an
investigation, wbich we lrnv� a right to do ... There's nothing illegal about it... Somebody could say it's improper.
And this isn't foreign policy - I'm asking them to <lo an investigation that they're doing already and that other
people are telling them to slop. And ['m going to give them reasons why they shouldn't stop it because that
information will be ve1y, very helpful to my client, and may t1.1m Ollt to be helpful to my government."

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     Starting in mid-May, I heard from multiple U.S. officials that they were deeply concerned by
 what they viewed as Mr. Giuliani's circumvention of national security decisionmaking processes
 to engage with Ukrainian officials and relay messages back and forth between Kyiv and the
 President. These officials also told me:

     •   that State Department officials, including Ambassadors Volker and Sandland, had spoken
         with Mr. Giuliani in an attempt to "contain the damage" to U,S. national security; and
     •   that Ambassadors Volker and Sandland during this time period met with members of the
         new Ukrainian administration and, in addition to discussing policy matters, sought to help
         Ukrainian leaders understand and respond to the differing messages they were receiving
         from official u:s-.·-ch-annels on·the one hand, and·from-Mr. Giuliani on the other.

     During this same timeframe, multiple U.S. officials told me that the Ukrainian leadership was
 led to believe that a meeting or phone call between the _President and President Zelenskyy would
 depend on whether Zelenskyy showed willingness to "play ball" on the issues that had been
 publicly aired by Mr. Lutsenko and Mr. Giuliani. (Note: This was the general understanding of
 the state of affairs as conveyed to me by U.S. officials from late May into early July. I do not
 know who delivered this message to the Ukrainian leadership, or when.) See Enclosure for
 additional information.

    Shortly afler President Zelenskyy' s inaugurn.tion, it was publicly reported that Mr. Giuliani
met with two other Ukrainian officials: Ukraine's Special Antlcorrnption Prosecutor, Mr. Nazar
Kholodnytskyy, and a former Ukrainian diplomat named Andriy Telizhenko. Both Mr.
Kholodnytskyy and Mr. Tclizhcnko are allies of Mr. Lutsenko and made similar allegations in
the above-mentioned series of articles in The Hill.

    On 13 June, the President told ABC's George Stephanopoulos that be would accept damaging
info1mation on his political rivals from a foreign government.

    On 21 June, Mr. Giuliani tweeted: "New Pres of Ukraine still silent on investigation of
Ukrainian interference in 2016 and alleged Biden bribery of Poroshenko, Time for leadership
and investigate both if you want to purge how Ukraine was abused by Hillary and Clinton
people."

   In mid-July, T learned of a sudden change of policy with respect to U.S. assistance for
Ukraine. See Enclosure for additional information.



ENCLOSURE:            Classified appendix




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                                                                           August 12, 2019


                                                               (U) CLASSIFIED APPENDIX




    fFS-
    (U) Supplementary classified information is provided as follows:

    (U) Additional information related to Section II

                   According to multiple White House officials I spoke with, the transcript of the
    President's call with President Zelenskyy was placed into a computer system managed dfrectty
    by the National Security Council (NSC) Directorate for Intelligence Programs. This is•a
   standalone computer system reserved for codeword-level intelligence infonnation, :;uch as covert
   action. According to information I received from White House officials, some officials voiced
   concerns internally that this would be an abuse of the system and was not consistent with the
   responsibilities of the Directorate for Intelligence Programs. According to White House officials
   I spoke with, this was "not the first time" ltncler this Administration that a Presidential transcript
   was placed into this codeword-.level system solely for the purpose of protecting politically
   sensitive-rather than national secw:ity sensitive-information.

   (U) Additional information re.lated to Section IV




 f.S-    I would like to expand upon �o issues mentioned in Section IV that might have a
connection with the overall effort Lo pressure lhe Ukrainian lea<len,hip. As I <lo nol know
definitively whether the below-mentioned decisions are connected to the broader efforts I
describe, I have chosen to include them in the classified annex. If they indeed represent genuine
policy deliberations and decisions fonnulated to advance U.S. foreign policy £incl national
security, one might be able to make a reasonable case that the facts are classified.

        • E£llli I learned from U.S. officials that, on or around 14 May, the President instructed
              Vice President Pence to cancel his planned travel to Ukraine to attend President

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                           :i:·or 3:ECR1ffi,

    Zelenskyy' s inauguration on 20 May; Secretary of Energy Rick Perry led the delegation
    instead. According to these officials, it was also "made clear" to them that the President
    did not want to meet with Mr. Zelenskyy until he saw how Zelenskyy "chose to act" in
    office. [ do not know how this guidance was communicated, or by whom. I also do not
    know whether this action was connected with the broader understanding, described in the
    unclassified letter, that a meeting or phone call between the President and President
    Zelenskyy would depend on whether Zelenskyy showed willingness to "play ball'' on the


 • (S-
    issues that had been publicly aired by Mr. Lutsenko and Mr. Giuliani.

             On 18 July, an Office of Management and Budget (0MB) official informed
    Departments and Agencies that the President "earlier that month" had issued instructions
    to sµspend all U.S. security assistance to Ukraine. Neither 0MB nor the NSC staff knew
    why this instruction had �een issued. During interagency meetings on 23 July and 26
    July, 0MB officials again stated explicitly that the instruction to suspend this assistance
    had come directly from the President, but they still were unaware of a policy rationale.
    As of early August, I heard from U.S. officials that some Ukrainian officials were aware
    that U.S. aid might be in jeopardy, but I do not know how or when they learned of it.




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                 Exhibit C
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         MEDIA CONTACTS

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                                                     Attorney General Barr Should
        Director of                                  Recuse Himself from
        Communications
        212-382-6754                                 Department of Justice Review
        Email
                                                     of Ukraine Matter
         Eli Cohen                                  October 23, 201 9
        Communications
        Associate
        212-382-6656
        Email                                                 Statement of the New York City Bar Association
                                                                             October 23, 2019
        Subscribe
                                                           Attorney General Barr Should Recuse Himself from
                                                            Department of Justice Review of Ukraine Matter

                                                    Summary

                                                    The United States Department of Justice (DOJ) has a unique
                                                    role in safeguarding the rule of law under the Constitution.
                                                     By failing to recuse himself from DOJ's review of the Ukraine
                                                    Matter, Attorney General William P. Barr has undermined
                                                    that role. To help remedy that failure, the New York City Bar
                                                    Association urges that Mr. Barr recuse himself from any
                                                    ongoing or future review by DOJ of Ukraine-related issues in
                                                    which Mr. Barr is allegedly involved. If he fails to do so, he
                                                    should resign or, failing that, be subject to sanctions,
                                                    including possible removal, by Congress.

                                                    The Office of the Attorney General

                                                    Since our democracy's inception in 1789, its foundation has
                                                    been the rule of law. Our leaders are selected and exercise
                                                    their powers under law, beginning with our Constitution.
                                                    Although our courts have primary responsibility for
                                                    interpreting and applying our laws, both the Congress and
                                                    the Executive - including the President - are subject to, and
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                                                     accoun1a□1e unaer, 1ne Lons111u11on ana 1ne 1aws enanea
                                                     thereunder.    Because respect for law is central to our
                                                     nation's governance, the Attorney General of the United
                                                     States bears a special responsibility to see that our laws are
                                                     justly administered for the benefit of the American people.
                                                     The Attorney General is, and must be seen as, the
                                                     representative of the nation in advising the President and
                                                     other federal officers and must demonstrate an
                                                     unquestioned commitment to compliance with law by all
                                                     who exercise the powers of government.

                                                     The modern DOJ was established by Congress in the
                                                     Judiciary Act of 1870. Even before that, however, the office
                                                     of the Attorney General was seen as having a uniquely
                                                     important role in our federal system. As Attorney General
                                                     Cushing observed in an 1854 opinion, the Attorney General
                                                     is not simply "a counsel giving advice to the Government as
                                                     his client, but a public officer, acting judicially, under all the
                                                     solemn responsibilities of conscience and of legal
                                                     obligation."[]]   For the same reason that the Attorney
                                                     General's obligations are not owed solely to "the
                                                     Government as his client," they are not owed to the
                                                     President in his individual capacity.

                                                    As noted by William Barr at the time of his nomination as
                                                    Attorney General in 1991, the Attorney General "holds in
                                                    trust the fair and impartial administration of justice. It is the
                                                    attorney general's responsibility to enforce the law
                                                    evenhandedly and with integrity. The attorney general must
                                                    ensure that the administration of justice, the enforcement of
                                                    the law is above and away from politics. Nothing could be
                                                    more destructive of our system of government, of the rule of
                                                    law or the Department of Justice as an institution than any
                                                    toleration of political interference with the enforcement of
                                                    the law."[2]

                                                    Mr. Barr repeated these words at the time of his 2019
                                                    nomination for his current position as Attorney General and
                                                    added that "the American people have to know that there

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                                                  politics, holds sway and where they will be treated fairly
                                                  based solely on the facts and the evenhanded application of
                                                  the law. The Department of Justice must be that place."[3]

                                                   Mr. Barr's Performance

                                                   Despite this commitment to the role of the Attorney General,
                                                  Mr. Barr's actions in office have failed in precisely the role
                                                  that he described with eloquence when nominated. That
                                                  failure has jeopardized the confidence that the public can
                                                  reasonably have in the DOJ as the place "where the rule of
                                                  law, not politics, holds sway." His actions during his brief
                                                  tenure in office have demonstrated to us that, contrary to
                                                  the responsibilities of his office, he appears to view his
                                                  primary obligation as loyalty to the President individually
                                                  rather than to the nation. In serving the President, he has
                                                  been willing to take or countenance actions that are contrary
                                                  to the professional standards of the DOJ, his oath of office
                                                  and his own obligations as an attorney.

                                                  Our concern has been brought to a head by Mr. Barr's failure
                                                  to recuse himself from the DOj's review-itself of uncertain
                                                  propriety-of the ongoing "whistleblower" complaint with
                                                  respect to the President's efforts during his July 25, 2019
                                                  telephone call to request the Republic of Ukraine to
                                                  investigate Mr. Trump's allegations of Ukrainian interference
                                                  in the 2016 U.S. elections and former Vice-President Biden
                                                  and his son (the "Ukraine Matter"). As White House records
                                                  made clear[4], the President told his Ukrainian counterpart,
                                                  Volodymyr Zelensky, that Mr. Barr "would be in touch with
                                                  him" to follow up on the President's requests. The
                                                  whistleblower found this telephone call to be of "urgent
                                                  concern" because of the President's apparent intermingling
                                                  of U.S. foreign policy interests with his personal political
                                                  interests in apparent violation of U.S. law.[5]

                                                 Our focus here is not on the legality of the President's
                                                 actions or even on the merits of the whistleblower's
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                                                   General found to be "credible." Nor do we take a position at
                                                   this time on whether DOJ's review of this action was
                                                   justified.

                                                   We do, however, believe it was, and is, incumbent on the
                                                   Attorney General to recuse himself from any participation,
                                                   direct or indirect, in DOJ's review of the whistleblower
                                                   complaint. Regardless of whether Mr. Barr was in fact aware
                                                   of or part of the President's plans, either before, at the time
                                                   of, or after the July 25, 2019 telephone call, it is clear that Mr.
                                                   Barr was obligated to recuse himself from any involvement
                                                   in DOJ's review of either the whistleblower complaint or the
                                                   substance of the President's actions once the President
                                                   offered Mr. Barr's services to President Zelensky.

                                                   Federal regulations (28 CFR 45.2) for DOJ prosecutors require
                                                   recusal whenever a lawyer "has a personal or political
                                                   relationship with any person . .. substantially included in the
                                                   conduct that is the subject of the investigation." The DOJ
                                                    Manual for U.S. Attorneys requires (section 3-2.170, 2.220)
                                                   recusal of U.S. Attorneys and Assistant U.S.Attorneys where
                                                   "a conflict of interest exists or there is an appearance of a
                                                   conflict of interest or loss of impartiality." Executive Branch
                                                   ethics rules also provide (5 C.F.R. 2635.502) that recusal is
                                                   appropriate if "a reasonable person with knowledge of the
                                                   relevant facts would be likely to question the employee's
                                                   impartiality in the matter."

                                                   Mr. Barr also was specifically mentioned by the President as
                                                   a participant in the activity under investigation. Moreover,
                                                   he appears to have participated in the DOJ review of the
                                                   whistleblower's complaint and its decision not to forward
                                                   that complaint to Congress. That he failed to recuse himself
                                                   from that review, and still has not yet (to our knowledge)
                                                   recused himself from any ongoing DOJ review of other
                                                   aspects of the Ukraine Matter, is a serious violation of his
                                                   obligation to protect the DOJ from reasonable questions as
                                                   to its impartiality in the investigation of the Ukraine Matter.
                                                   [6]
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                                                   Recusal by the Attorney General is by no means rare. There
                                                  have been at least 16 such recusals since 1989, including two
                                                  previous recusals by Mr. Barr himself (one in 1993 during his
                                                  first term as Attorney General and one in 2019 in connection
                                                  with the Jeffrey Epstein review) and the 2017 recusal by
                                                  Attorney General Sessions because of his potential role as a
                                                  witness to Russian interference in the 2016 election. In
                                                  addition, six other Attorneys General recused themselves
                                                  during this period.[71 The whistleblower complaint against
                                                  the President and others (potentially involving Mr. Barr
                                                  either as a witness or, conceivably, an accomplice) clearly
                                                  rose to the levels that required recusal in these earlier
                                                  investigations and should have led Mr. Barr to similar action
                                                  in this instance.

                                                  Conclusion

                                                 A nation founded on a commitment to the rule of law cannot
                                                 have an Attorney General who by his actions appears to
                                                 undermine the bedrock principle on which our nation relies
                                                 -that all federal officials, including the President, are subject
                                                 to the rule of law. Mr. Barr's failure to recuse himself from
                                                 any involvement in the DOJ's review of the whistleblower
                                                 complaint and its disclosure to Congress undermined that
                                                 principle. In order to limit the impact of his earlier failure to
                                                 recuse, we call upon Mr. Barr to immediately recuse himself
                                                 from all further DOJ investigations of Ukraine-related issues
                                                 in which he is or was allegedly involved, including any
                                                 continuing or future investigations into alleged Ukrainian
                                                 involvement in the 2016 election, allegations relating to Mr.
                                                 Biden or his family members or the President's efforts to
                                                 pursue those allegations in connection with U.S. assistance
                                                 to Ukraine or to other nations.

                                                 We hope that Mr. Barr will act promptly to remedy, at least in
                                                 part, his prior failure to recuse himself from the Ukraine
                                                 Matter. If, however, he chooses not to do so, we believe he
                                                 must resign his position as Attorney General. If he fails

https ://www. nycba r. org/medi a-Iisting/media/d et a iI/altorney-genera 1-bar... I d-recuse-himself-from-department-of-j ustice-revi ew-of-u kraine-matter       Page 5 of 7
                           Case 1:19-cr-00725-JPO Document 156-7 Filed 12/22/20 Page 26 of 38
 Attorney General Barr Should Recuse Himself from Department of Justice Review of Ukraine Matter I Media Listing I NYC Bar                                      1/20/20, 1:47 PM



                                                  either to recuse himself or to resign, Mr. Barr should be
                                                  subject to appropriate Congressional sanctions, including
                                                  possible removal from office, in order to restore the Office of
                                                  the Attorney General and the DOJ to their historic roles as
                                                  defender of the law on behalf of the American people.

                                                  October 23, 2019

                                                  Roger Juan Maldonado
                                                  President
                                                  New York City Bar Association

                                                  Stephen L. Kass
                                                  Chair, Task Force on the Rule of Law
                                                  New York City Bar Association


                                                   [l] Department of Justice as an Independent Establishment,
                                                  The, 29 Rec. Ass'n B. City N.Y. 486, 490 (1974).
                                                   [2] Confirmation Hearing of William P. Barr, 15. Hrg. 102-
                                                  505, Pt. 2 (Nov. 12 & 13, 1991), available at
                                                  civilrightsdocs.info/pdf/ag-vacancy/1991-AG-Nomination­
                                                   Hearing-Transcript.pdf (All websites last visited October 21,
                                                  2019.)
                                                  [3] Reproduced in The Washington Post, January 14, 2019.
                                                  [4] The White House summary of the July 25 phone call is
                                                  available                                                here:
                                                  https ://www.washingtonpost.com/context/officia I-readout­
                                                  president-tru mp-s-july-25-phone-ca 11-with-ukraine-s­
                                                  volodymyr-zel ens ky/4b228f51-17 e 7-45bc-b 16c-
                                                  3b2643f3fbe0/.
                                                  [5] The whistleblower's complaint included the following at
                                                  page 1: "In the course of my official duties, I have received
                                                  information from multiple U.S. Government officials that the
                                                  President of the United States is using the power of his office
                                                  to solicit interference from a foreign country in the 2020
                                                  election. This interference includes, among other things,
                                                  pressuring a foreign country to investigate one of the
                                                  President's main political rivals. The President's personal
                                                                       ,..._.   I   I   I   ,- •   I'                     ' r•          •    ,•   •    rr       .


htt ps ://www. nycbar.org/media-Ii sting/med ia/detai 1/attorney-ge n era I-bar... Id-recuse-himself-from-de partment-of-j usti ce-review-of-ukra in e-matter       Page 6 of 7
                          Case 1:19-cr-00725-JPO Document 156-7 Filed 12/22/20 Page 27 of 38
 Attorney General Barr Should Recuse Himself from Department of Justice Review of Ukraine Matter I Media Listing I NYC Bar                              1/20/20, 1:47 PM


                                               Iawyer, IVlr. KuaoIpn lJIuIIan1, Is a cem:raI ngure In Inis enorL
                                               Attorney General Barr appears to be involved as well." The
                                               whistleblower         complaint        is     available      here:
                                               https://intel Iigence.house.gov/uploadedfiles/20190812_-
                                               _wh istleblower_complaint_unclass.pdf.
                                               [6] By identifying this one issue relating to his recusal, we
                                               do not mean to endorse Mr. Barr's decisions on other
                                               matters.
                                               [7] These examples of prior recusal by the Attorney General
                                               include the following: Richard Thornburgh (drug use by
                                               public officials); Janet Reno (tax evasion by a former
                                               subordinate and FBI conduct at Waco); John Ashcroft
                                               (campaign finance by Ashcroft political opponent, Enron
                                               misconduct, and disclosure of Valerie Plame's CIA identity);
                                               Alberto Gonzales (Valerie Plame investigation, simultaneous
                                               termination of nine U.S. Attorneys); Michael Mukasey
                                               (Madoff investigation); Eric Holder (UBS investigation, Roger
                                               Clemens investigation, ATT and T-Mobile merger, and FBI
                                               press leak). Congressional Research Service, A Brief History of
                                               Attorney        General      Recusal      (Mar.      8,     2017),
                                               https://fas.a rg/sgp/crs/m i sc/recusaI.pdf.




                                                lssue(s): Governmental Affairs                       I   International Affairs

                                                Committee(s): Rule of Law, Task Force on the

                                               Subject Area(s): Rule of Law                     I   Recusal




htt ps ://www.nycbar.org/m edia-Iisting/media/detai1/attorney-genera 1-bar... Id-recuse-him self-from-department-of-j ustice-review-of-ukraine-matter       Page 7 of 7
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                 Exhibit D
      Case 1:19-cr-00725-JPO Document 156-7 Filed 12/22/20 Page 29 of 38
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                              llnittd �totrs �tnatc
                                  WASHINGTON, DC 20510




                                  October 24, 2019

The Honorable William P. Barr
Attorney General of the United States
U.S. Department of Justice
950 Pennsylvania Ave. NW
Washington, D.C. 20530

Dear Attorney General Barr:

      We urge you to recuse yourself from investigations into the Trump Ukraine
matters, including any investigations involving Rudy Giuliani, Lev Parnas, or Igor
Fruman, as well as investigations into the origins of the Russia investigation.

      Federal ethics guidelines prohibit federal employees from participating in
any matter in which their impartiality could be questioned, including matters in
which they were personally involved or about which they have personal
knowledge. [5 C.F.R. § 2635.502; Justice Manual § 1-4.020]. Previous Attorneys General
have sought the counsel of the relevant senior career Department officials to
determine whether they should recuse themselves from matters where their
impartiality might reasonably be questioned.

       The White House's memorandum of President Trump's July 25 phone call
with Ukraine President Zelensky suggests that you may have personal knowledge
or involvement in President Trump's requests that Ukraine pursue investigations to
serve the President's personal political interests. During that phone call, President
Trump referenced you by name or title at least five times, including mentioning
you in tandem with Rudy Giuliani three times. [Call Summary at 3-5].

        This raises legitimate questions about your knowledge of the activities of
Mr. Giuliani and others, as well as the actions that you have taken and your
discussions with the President and White House about these investigations. For
example, after receiving the preliminary Justice Department Inspector General
report on the Russia investigation's origins last month, you reportedly traveled to
ltaly to conduct your own fact-finding along with U.S. Attorney John Durham.
[Washington Post, Oct. I 0, 2019]. You did so after President Trump told President
Zelensky that he would "like to have the Attorney General call" to discuss an
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 investigation meant to discredit Special Counsel Mueller's findings regarding
 Russian election interference.

        Impartial enforcement of the law is essential to give the American public
 confidence in the Justice Department's work. Your personal connection to these
 matters creates the appearance of a conflict of interest and gives rise to questions
 about whether the Department is being used to advance the President's personal
 interests.

       Accordingly, we request that you recuse yourself and identify the
 appropriate ot1icial who will be responsible for these matters. We also request that
 you confirm whether you consulted Department ethics officials regarding recusal
 and provide copies of any ethics guidance that Justice Department officials have
 provided in connection with these matters.

                                  Sincerely,
                                                    r��


                                                      PATRICK LEAHY
 Ranking Member                                       United States Senator



  �'"�:
 RICHARD J. DURBIN
                                                    ��
                                                      SHELDON WHITEHOUSE
 United States Senator                                United States Senator




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AAMY�UCHAR
 United States Senator                                 United States Senator




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 RICHARD ,t?/4.-,,�                                   �-K��
                                                        MArK. HIRONO
 United States Senator                                  United States Senator
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Y0RY A. BOOKER
 United States Senator                               United States Senator


 cc:   The Honorable Lindsey 0. Graham
       Chairman, Senate Committee on the Judiciary




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                  Exhibit E
                                                           --­
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                                                             NEWYORK
                                                             CITY BAR

ROGER JUAN MALDONADO
PRESIDENT
Phone: (212) 382-6700
rnrn I do1rnc!orii)1wcbar.org

STEPHEN L. KASS
CHAIR
TASK FORCE ON THE RULE OF LAW


       Sent via Facsimile & Regular Mail

                                                                                                    January 8, 2020


       Hon. Nancy Pelosi                                                    Hon. Kevin McCarthy
       Speaker                                                              Minority Leader
       U.S. House of Representatives                                        U.S. House of Representatives
       H-232, The Capitol                                                   H-204, The Capitol
       Washington, DC 20515                                                 Washington, DC 20515

       Hon. Mitch McConnell                                                 Hon. Charles Schumer
       Majority Leader                                                      Minority Leader
       U.S. Senate                                                          U.S. Senate
       S-230, The Capitol                                                   S-221, The Capitol
       Washington, DC 20515                                                 Washington, DC 20515


       Dear Speaker Pelosi, Minority Leader McCarthy, Majority Leader McConnell, and Minority
       Leader Schumer:

                We write on behalf of the New York City Bar Association (the "City Bar") to urge
       Congress to commence formal inquiries into a pattern of conduct by Attorney General William P.
       Barr that threatens public confidence in the fair and impartial administration of justice. We make
       this request based upon our belief, as similarly recognized by Mr. Barr during his Senate
       confirmation hearings, that the Attorney General occupies a unique position with special
       obligations as the nation's top law enforcement officer. We also make this request in keeping with
       the City Bar's mission to embrace advancement of the rule of law and the fair administration of
       justice, especially by those who are entrusted with important public responsibilities. 1
       1
           In October 2019, the City Bar called on Mr. Barr to recuse himself from all Department of Justice matters relating
       to allegations that President Donald J. Trump abused the power of his office to solicit political interference on his
       behalf by the government of Ukraine. Mr. Barr was personally named in the whistleblower complaint first raising
       those allegations and is reported to have been involved personally in some of the matters subject to review. To date,
       Mr. Barr has failed to recuse himself. See New York City Bar Association, Attorney General Barr Should Recuse
       Himselffrom Department ofJustice Review of Ukraine Matter, Oct. 23, 2019, hu.ps://ww, .nvcbar. rg/meclin-
       I isl i ngtmed ia/deta i l/c1llorney-g.encra I-bnrr-shou lcl-rocu e-h imseIr- from-depart mc.mt-o f-ju I ice-re vi ew-o r-u 1 ra i ne-

                                           THE ASSOCIATION OF THE BAR OF THE CITY OF NEW YORK
                                        42 West 44th Street, New York, NY 10036-6689 www.nycbar.org
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        As further described below, Mr. Barr's recent actions and statements position the Attorney
General and, by extension, the United States Department of Justice (DOJ) as political partisans
willing to use the levers of government to empower certain groups over others. These statements
are the latest examples of a broader pattern of conduct that is inconsistent with the role of the
Attorney General in our legal and constitutional system and with the norms and standards that
govern the fair administration of justice. We urge Congress to exercise its constitutional authority
to investigate this troubling pattern of conduct, in order to assess Mr. Barr's actions as Attorney
General and to consider any legislative and oversight responses and remedies that may be
necessary.

        The duties to act impartially, to avoid even the appearance of partiality and impropriety,
and to avoid manifesting bias, prejudice, or partisanship in the exercise of official responsibilities
are bedrock obligations for government lawyers. In the context of pending investigations,
government lawyers also are obliged to be circumspect in their public statements and to avoid
prejudging the outcomes of those investigations.

       Mr. Barr has disregarded these fundamental obligations m several extended public
statements during the past few_ months:

         •    On October 11, 2019, in an invitation-only speech at the University of Notre Dame,
              Mr. Barr launched a partisan attack against "so called 'progressives "' for supposedly
              waging a "campaign to destroy the traditional moral order." He charged that
              "secularists" and "their allies among progressives" were "marshal[ing] all the force of
              mass communication, popular culture, the entertainment industry, and academia in an
              unremitting assault on religion and traditional values," with the ultimate goal of
              achieving the "organized destruction" of religion. In his speech, which is now
              published on the DOJ website, Mr. Barr stated that "the Founding generation ...
              believed that the Judeo-Christian moral system corresponds to the true nature of man"
              and that "Judeo-Christian moral standards are the ultimate utilitarian rules for human
              conduct." According to the Attorney General, "they are like God's instruction manual
              for the best running of man and society." Expressing his view that "Judeo-Christian
              values ... have made this country great"-while simultaneously rejecting the moral
              basis of secularism and, by implication, other religions (and atheism) as "an inversion
              of Christian morality," Mr. Barr vowed to place the Department of Justice "at the
              forefront" of efforts to resist "forces of secularization. "2



rnatn:ir (hereinafter New York City Bar Association, Barr Should Recuse Himself, Oct. 23, 2019). (All links cited in
this letter were last checked on January 7, 2020).
2
  William P. Barr, Attorney General of the United States, Remarks to de Nicola Center for Ethics and Culture,
University of Notre Dame School of law, Oct. 11, 2019, .!illps://www.ju ti e.eov/opn/spc h/a11ornev-tt neml-
wi Ili::im-p-bHrr-delivcrs-rl:}mark ·-law-s hool-ancl-d--11icola-ce111er-ethics (as prepared for delivery); see Michael
Sean Winters, Notre Dame Had a Right to HostBarr-But His Talk Was Ridiculously Stupid, NAT'L CATHOLIC
REPORTER, Oct. I 8. 2019, h11ps://www.11cronli11e.org/11cws/opi11ion/di 1i11 ti -caL111 Ii 11ou·e-clame-had-right-hos1-
barr-his-Lalk-was-rid icu low;ly- 1upid.


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          •   On November 15, 2019, in a speech at the Federalist Society's National Lawyers
              Convention, Mr. Barr again vilified "progressives" and "the Left" (characterizing as
              "the other side" those who "oppose this President") in highly partisan terms. Attacking
              "so-called progressives" for supposedly "treating politics as their religion," and for
              allegedly attempting, by "any means necessary," to "use the coercive power of the State
              to remake man and society in their image," Mr. Barr charged that opponents of the
              Trump presidency's policies have been "engaged in the systematic shredding of norms
              and the undermining of the rule of law." By contrast, Mr. Barr proclaimed,
              conservatives "tend to have more scruple over their political tactics" and are more
              genuinely committed to the rule of law. 3 The Attorney General referred to something
              he called a "progressive holy war," characterized, he says, by the use of "any means
              necessary to gain momentary advantage."

          •   On December 3, 2019 - drawing from earlier remarks at a Fraternal Order of Police
              gathering in New Orleans in which he lambasted District Attorneys from "large cities"
              who "style themselves as 'social justice' reformers, who spend their time undercutting
              the police, letting criminals off the hook, and refusing to enforce the law," and "an
              increasingly vocal minority" that "regularly attacks the police and advances a narrative
              that it is the police that are the bad guys" and "automatically start[s] screaming for the
              officers' scalps, regardless of the facts" following "a confrontation involving the use
              of force by police" 4 - Mr. Barr warned at a DOJ awards ceremony that "the American
              people have to ...start showing, more than they do, the respect and support that law
              enforcement deserves," and "if communities don't give that support and respect, they
              might find themselves without the police protection they need." 5 Although Mr. Barr
              did not specify which District Attorneys he had in mind, he did say that "[t]hese anti­
              law enforcement DAs have tended to emerge in jurisdictions where the election is
              largely determined by the primary" and cited to "large cities" as the culprit jurisdictions
              which, in his view, were headed towards "[m]ore crime; more victims" as a result.6 In
              similar fashion, Mr. Barr did not specify which "communities" were at risk of seeing

3
  William P. Barr, Attorney General of the United States, 19th Annual Barbara K. Olson Memorial Lecture,
National Lawyers Convention, Federalist Society, Nov. 15, 2019, hl1ps://vvww.ju. tice.gov/opa/, pccch/attorncy­
gcneral-william-p-barr-deliver -! 91h-annual-barbnrn-k-ol ·on-memorial-lccurrc (as prepared for delivery); see Ruth
Marcus, The Most Alarming Part ofBarr's Speech Was Its Angrily Partisan Tone, WASH. POST, Nov. 18, 2019,
hups://www. wa hingtonpost.com/opini nJwill iam-l>'1rr. -language-i ·-thnt- t'.-an-icleologi al-warrior-nor-an-
mt rney-genernl/2019/l l/18/27f26c64-0a 2-11 a-bd9d-c62 fd48b3a0 101v.h1111l.
4
 William P. Barr, Attorney General of the United States, Attorney General William P. Barr Delivers Remarks at the
Grand Lodge Fraternal Order of Police's 64th National Biennial Conference, August 12, 2019,
hups://www.justite.gov/opa/spee h/nll ornev-g,enera1-wi 11 inm-p-barr-ci Iiver -r 111arl -grand-lodge-lhuerm.1i-order­
pol ices-64th (as prepared for delivery) (hereinafter "FOP Speech").
5
  William P. Barr, Attorney General of the United States, Third Annual Attorney General's Award/or Distinguished
Service in Policing, Dec. 3, 2019, hllps://w, , .ju tice.g v/opa/vidco/third-annunl-nLLorncy-gencral- -awarcl­
dislingui. h d-.er i e-1 olicing.
6
  In response to the FOP Speech, 67 prosecutors issued a statement calling Barr's speech "deeply concerning" and
cautioning "It is not the time for a return to fear-driven narratives that find no foundation in fact." Statement in
Response to Attorney General Barr's Remarks to The Fraternal Order of Police, August 16, 2019,
hllps://fairandjuslpro ecution.org/wp-con1cn1/upload 20 I9/08/13arr-R •marks- ign- 11-S1a1cmcnt.pdf.


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              decreased police protection because they lack respect for law enforcement, but his
              comment was understood by some observers, not unreasonably, as being directed
              toward members of communities of color protesting excessive use of force by police. 7

          •   On December 10, 2019, in a television interview soon after DOJ's Inspector General
              released a report finding no improper political motivation in the FBI's commencement
              of a counterintelligence investigation into alleged ties between the Trump-Pence
              campaign and Russian officials in 2016, Mr. Barr publicly rejected the Inspector
              General's findings, asserting instead that a separate ongoing investigation into the
              FBI's actions that he personally had directed would likely reach a different conclusion.
              Although that second investigation (which is being supervised by a different DOJ
              official) is not yet complete, Mr. Barr nevertheless openly discussed his opinions about
              the likely outcome of that investigation. In a separate statement the previous day, Mr.
              Barr asserted that the FBI's factual predicate was "insufficient to justify" its
              investigation and that the FBI may have acted in "bad faith" in commencing that
              investigation. 8

These comments follow and are reminiscent of Mr. Barr's earlier mis characterizations of the
Mueller Report, prior to his release of a redacted version of it, in which Mr. Barr claimed the
special counsel had found insufficient evidence of any obstruction of justice by President Trump-

7
   In a television interview with P ete Williams ofNBC News on December 10, 2019, Mr. Barr denied that he had
 suggested that people should not criticize police officers and said he was referring to the high rates ofjob vacancies
in police agencies throughout the country. See Full Interview: Barr Criticizes Inspector General Report on the
Russia Investigation, NBC NEWS, Dec. 10, 2019, hltps://www.nbcnews.com/video/full-interview-barr-criticizes­
 inspector-genernl-report-o11-1he-russia-i11ves1 ii?,ati.cm-74851909911. There has been extensive reporting over many
years on police shortages and the innovative recruitment efforts being made by police departments, but the causes of
the hiring challenges are myriad and complex. According to experts in the field, contributing factors include
relatively low starting pay; a changing workforce with expectations and objectives that differ from past generations;
a weakening pipeline from family members and the military; continuing challenges associated with recruitment of
non-traditional candidates, including women and people of color; disqualifying past behaviors by applicants; the
stress ofincreasingly being called upon to deal with the social ills ofhomelessness, substance abuse and mental
illness; news stories highlighting the challenges ofserving as a police officer; and misaligned job expectations. See,
e.g., Laurie Mack, Shortage Of Officers Fuels Police Recruiting Crisis, Dec. NPR NEWS, Dec. 11, 2018,
hLLps://ww\ .npr.org/2018/12/J I /67550 ·052/shortage-of-of'liccrs-fhel. -polie -rccruiLing-crisi ; Timothy Roufa, Why
Police Departments Are Facing Recruitment Problems, THE BALANCE CAREERS/CRIMINOLOGY CAREERS, Nov. 5,
2018, httpsi//www .lhebalancecareer .com/why-pnlice-cleparlments-are-facing-recruiLment-probl •m -97477 t; Sid
Smith, MPA, ChiefofPolice (former), A Crisis Facing Law Enforcement: Recruiting in the 21st Century, POLICE
CHIEF MAGAZINE, June 2016, http ://ww, .police hicfim1gazine.nrg/a-cri -i ·-!'aci11g-law-enfon.:emen1-rec.:ruiLi11g-i11-
1he-2 I st-century/; Ben Langham, Lieutenant, Kenai, Alaska, Police Department, Millennials and Improving
Recruitment in Law Enforcement, POLICE CHIEF MAGAZINE, May 24, 2017,
https://www.polic chiefmagazi11e,org/111illen11ials-and-i1111 roving:-recruitm •nt/; Lt. Ryan Harmon, A New Approach
In Recruiting & Retaining Qualified Officers At The Bella Vista [Arkansas} Police Department, March 2011,
                                                                                                             f
htlps://ww, . ji. · du/wp-cont · nVuplood./20 I 9/04/new-aru>ro<-1ch-i11-rccruitin12.-rc1aining-guali licd-ol lcer .pelf;
POLICE EXECUTIVE RESEARCH FORUM, The Workforce Crisis, And What Police Agencies Are Doing About It,
September 2019, h1Lps://www.1 oliccforu111.on.!/nsse1 /WorklorceCri is.pelf.
8
    Full Interview: Barr Criticizes Inspector General Report, supra note 7; Mikhaila Fogel, Notable Statements on
Inspector General's Report, LAWFARE, Dec. 9, 2019, http ://www.lawfarcblog.com/11otablc-srntemcnts-inspcclor­
gcnerals-rcporl; William Webster, The Rule of Law Still Matters, NY Times, Dec. 17, 2019, at A27,
b.1.tpsJ/www.nvtimes.com/2019/ 12/16/opinion/FBI-Trump-russia-i11vestil!alio11.html.


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 a material mischaracterization ofthe Mueller Report and a proposition rejected by more than 1,000
 former federal prosecutors based on the facts set forth in the Mueller Report.9

        These public statements by Mr. Barr also contravene the norms applicable to his office and
warrant further investigation by Congress as part ofan inquiry into Mr. Barr's conduct as Attorney
General more generally. They may even implicate ethical considerations, insofar as prosecutors
must generally avoid public comments on ongoing investigations and must not manifest any bias
or prejudice based on race, religion, sexual orientation or partisan political considerations in
exercising their prosecutorial discretion.10 Although we do not in this letter take any position on
whether or not Mr. Barr has violated any Rules of Professional Conduct, at least one leading legal
ethics authority has suggested that government lawyers have special obligations to be factually
accurate in their public statements, and should be bound by the Rules of Professional Conduct,
even ifthey do not represent clients in the traditional sense.11 Indeed, Mr.Barr's conduct appears
to run afoul of the "very special obligations" that he himself professed to recognize during his
1991 and 2019 Senate confirmation hearings.12 During the 1991 hearing, Mr.Barr recognized that
the Attorney General "holds in trust the fair and impartial administration of justice" and bears
responsibility "to enforce the law evenhandedly and with integrity." He also noted that the
Attorney General "must ensure that the administration of justice ... is above and away from
politics," and that "[n]othing could be more destructive of our system of government, of the rule
of law, or the Department ofJustice as an institution, than any toleration of political interference
with the enforcement of the law." In 2019, Mr. Barr further explained that the Department of
Justice must be a "place[] in the government where the rule oflaw-not politics-holds sway, and
where they [the American people] will be treated fairly based solely on the facts and an even­
handed application of the law." 13

        Mr. Barr's recent actions and statements are in sharp and diametric contrast to the
principles he cited in his confirmation hearings. In addition, they reinforce a broader pattern of
conduct during his tenure in which he has created, at a minimum, an appearance of partiality in

9
  Statement by Former Federal Prosecutors, May 6, 2019, hup :l/mec.Jium.com/@cloialumni/slate111ent-bv-tormer­
fcdernl-prosecuLOr -8ab769 Ic2afl I. Mr. Mueller expressed a similar point of view in a letter to the Attorney
General, in which he stated that "The summary letter the Department sent to Congress and released to the public late
in the afternoon of March 24 did not fully capture the context, nature, and substance of this Office's work and
conclusions." Letter from Special Counsel Robert S. Muller, III to The Honorable William P. Barr, March 27, 2019,
h1tps://i11!.11yt.com/duta/clocumcrnh ·lpcr/796-nlllcll r-leucr-to-barr/02499959 ·bfa3 I �c36d4/optimizc:cl/full.pdJ'.
JO CRJMINALJUSTICE STANDARDS FOR THE PROSECUTION FUNCTION§§ 3-1.3, 3-1.4, 3-1.6 & 3-1.10 (Am. Bar

Ass'n, 4th ed. 2017),
h Ups://www .nmcrican bar .org/groups/cri In i ml I j usl ii.:c/stnndards/Prosccution Function Fourth Edition.
11 See Ellen Yaroshefsky, Regulation of Lawyers in Government Beyond the Client Representation Role, 33
NOTRE DAME J.L. ETHICS & PUB. POL'Y 151 (2019), hliJ ://nm.aal'.org/wp-
co11tc11t/uploads/site /4/2018/12//\M J 9SYaroshefskyReq,11latio1101Lawyers.pdf.
12
     New York City Bar Association, Barr Should Recuse Himself, Oct. 23, 2019, supra note l; see also infra note 13.
13
    Confirmation Hearing of William P. Barr, 15. Hrg. 102-505, Pt. 2 (Nov. 12 & 13, 1991), at 16,
http://civilrighlsdocs.info/p I li'ag-vacan. ·y/199 I -AG-No111i1rntion-l-leari11!!.-Tran. cripl.pd f. Written Testimony of
William P. Barr, Hearing on the Nomination of the Hon. William Pelham Barr to Be Attorney General of the United
States, Committee on the Judiciary, U.S. Senate, Jan. 15, 2019, at 1,
ht IP. ://www.jud le iary.senate.gov/down I oad/bnrr-Lest i monv.


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how he understands and carries out his role as Attorney General. In a troubling number of
instances, Mr. Barr has spoken and acted in a manner communicating an impression that he views
himself as serving as the Attorney General not for the entire nation, but more narrowly for certain
segments of society-whether defined in terms of religion, ideology (his own "side," to borrow
the language of Mr. Barr's Federalist Society speech) or party affiliation.

       For the reasons stated above, we have significant concerns about the propriety of Mr. Barr's
recent actions and statements. We urge Congress to exercise its constitutional obligations by
expeditiously commencing formal inquiries into Mr. Barr's conduct.

                                                   Respectfully,




                                                   Roger Juan Maldonado
                                                   President
                                                   New York City Bar Association




                                                   Stephen L. Kass
                                                   Chair, Task Force on the Rule of Law
                                                   New York City Bar Association

cc:    Hon. William P. Barr
       Attorney General of the United States
       U.S. Department of Justice
       (Sent via Express and Regular Mail)

       Hon. Jerrold Nadler
       Chair, Committee on the Judiciary
       U.S. House of Representatives

       Hon. Doug Collins
       Ranking Member, Committee on the Judiciary
       U.S. House of Representatives

       Hon. Lindsey Graham
       Chair, Committee on the Judiciary
       U.S. Senate

       Hon. Dianne Feinstein
       Ranking Member, Committee on the Judiciary
       U.S. Senate
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